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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


AUGUST LOUIS WOLF                             )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )             Case 1:18-cv-01180-LO-TCB
                                              )
                                              )
SAMANTHA MENH                                 )
                                              )
       Defendant.                             )
                                              )


                  MEMORANDUM IN SUPPORT
            OF CONSENT MOTION TO RESET HEARING
       Plaintiff, August Louis Wolf (“Plaintiff”), by counsel, pursuant to Local Civil

Rule 7(F), submits this Memorandum in Support of his Consent Motion to Reset Hearing

[ECF No. 12]:

       1.       Plaintiff commenced this action on September 14, 2018 by filing a

complaint against Defendant, Samantha Menh (“Defendant”), for tortious interference

with contract, defamation per se, and common law conspiracy. [ECF No. 1

(“Complaint”)].

       2.       On December 11, 2018, Defendant filed a motion to dismiss for lack of

personal jurisdiction, improper venue and failure to state a claim pursuant to Rules

12(b)(2), 12(b)(3) and 12(b)(6) of the Federal Rules of Civil Procedure. [ECF No. 3].

       3.       On December 26, 2018, Plaintiff filed his memorandum in opposition to

Defendant’s motion to dismiss. [ECF No. 11].

       4.       Defendant’s reply to Plaintiff’s opposition is due on January 2, 2019.


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          5.    A hearing on Defendant’s motion to dismiss was set for January 4, 2019 at

10:00 a.m. [ECF No. 5; Motion Hearing Set].

          6.    Counsel for the Plaintiff has unavoidable conflicts on January 4, 11, 18

and 25, including a commitment with his son in Vero Beach, Florida, from January 18-20

and a five-day jury trial that begins on January 25. Each of the matters that create the

scheduling conflicts were scheduled months ago and cannot be re-scheduled due to

pending trial and pretrial deadlines.

          7.    Counsel for the Plaintiff advised counsel for the Defendant of the

unavoidable conflicts, and the need to reset the hearing on Defendant’s motion to

dismiss. Counsel for the parties have conferred. Counsel for the Defendant consents to

Plaintiff’s request to reset the hearing.

          8.    Plaintiff, with Defendant’s consent, respectfully requests the Court to reset

the hearing on Defendant’s motion to dismiss for February 1, 2019 at 10:00 a.m.

          9.    A proposed Order is attached as Exhibit “A”.



          WHEREFORE, Plaintiff moves the Court to enter an Order (1) granting

Plaintiff’s motion; (2) resetting the hearing on Defendant’s motion to dismiss for

February 1, 2019 at 10:00 a.m.; and (3) awarding such further relief as the Court deems

proper.



DATED:          December 27, 2018




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                             AUGUST LOUIS WOLF



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                                     Counsel for the Plaintiff




                            CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2018 a copy of the foregoing was filed

electronically using the Court’s CM/ECF System, which will send notice to counsel for

all parties, and was served electronically in PDF upon counsel for the Defendant.




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